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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

TYNDALL FEDERAL CREDIT                         )
UNION,                                         )
                                               )
       Plaintiff/Counter-Defendant,            )
                                               )
v.                                             )      Case No. 1:17-cv-111-WC
                                               )
DARTY PROPERTIES, LLC, and                     )
DAVID LANDON DARTY,                            )
                                               )
       Defendants/Counter-Claimant/            )
       Third-Party Plaintiffs,                 )
                                               )
v.                                             )
                                               )
GOOD CENTS CONSTRUCTION                        )
CONSULTANTS, LLC,                              )
                                               )
       Counter-Defendant.                      )

                                           ORDER

       The parties have filed a Joint Stipulation of Dismissal (Doc. 102) agreeing and

stipulating that all claims asserted in this case have been settled and that the claims are due

to be dismissed with prejudice. Accordingly, it is hereby

       ORDERED and ADJUDGED that this case is DISMISSED with prejudice, with

each party to bear their own costs. It is further

       ORDERED that all pending motions are DENIED as moot and all future deadlines

and settings are terminated.
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DONE this 10th day of July, 2019.



                          /s/ Wallace Capel, Jr.
                          WALLACE CAPEL, JR.
                          CHIEF UNITED STATES MAGISTRATE JUDGE
